        Case 5:24-cv-03567-NW         Document 89    Filed 03/17/25     Page 1 of 13



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13                          IN THE UNITED STATES DISTRICT COURT
14                           NORTHERN DISTRICT OF CALIFORNIA
                                      SAN JOSE DIVISION
15

16

17                                                    Case No. 5:24-cv-03567-NW
       TEVA PHARMACEUTICALS USA, INC.,
18                                                    JOINT CASE MANAGEMENT
                     Plaintiff,                       STATEMENT & [PROPOSED]
19                                                    ORDER
              v.
20
       CORCEPT THERAPEUTICS, INC., AND
21     OPTIME CARE INC.,
22                   Defendants.
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                                                                          Case No. 5:24-cv-03567-NW
                                                             JOINT CASE MANAGEMENT STATEMENT
          Case 5:24-cv-03567-NW         Document 89          Filed 03/17/25    Page 2 of 13



 1          Plaintiff Teva Pharmaceuticals USA, Inc. (“Teva”) and Defendants Corcept Therapeutics,
 2   Incorporated (“Corcept”) and Optime Care Inc. (“Optime”) submit this JOINT CASE
 3   MANAGEMENT STATEMENT & PROPOSED ORDER pursuant to the Court’s order, ECF No. 81.
 4   1.     JURISDICTION & SERVICE
 5          Teva’s Complaint includes claims under the federal antitrust laws and factually-related state
 6   law claims, giving rise to subject matter jurisdiction under 28 U.S.C. §§ 1331, 1337, and 1367. There
 7   are no issues regarding jurisdiction, venue, or service at this time. No parties remain to be served.
 8   2.     FACTS
 9          A.      Teva’s Position
10          This is an antitrust case about anticompetitive conduct in the market for a pharmaceutical
11   product called Korlym. Korlym is the only FDA-approved drug to treat endogenous Cushing’s
12   syndrome, a rare and debilitating condition that results when the body produces too much cortisol.
13   Korlym is sold by Defendant Corcept Therapeutics, and distributed by Defendant Optime Care—a
14   specialty pharmacy and the only pharmacy that distributes Korlym.
15          Plaintiff Teva Pharmaceuticals makes a generic version of Korlym. Teva launched the first
16   generic version of Korlym in January 2024, and it has been the only generic on the market ever since.
17          When a first generic product enters the market, it almost always quickly captures a very large
18   market share, and prices rapidly drop. And that makes sense, because generic drugs are carbon copies
19   of brand drugs—they are identical in all respects—except they are typically cheaper than brand drugs.
20   Studies show that when a first generic enters the market, it reliably captures 60-75% of the market
21   within its first six months, and often more than 80% within the first year. The beneficiaries are
22   patients, who switch over to a more affordable but equally effective medicine.
23          But that has not happened here. Teva’s generic has been on the market for over a year. It has
24   been priced at a material discount to brand Korlym the entire time. But Teva has captured virtually
25   zero market share. All the while, Corcept has charged astronomical prices at profit margins close to
26   99%. That result would be impossible to explain in a functioning, competitive pharmaceutical market.
27          Teva’s generic has been unable to threaten Corcept’s monopoly because Corcept and Optime
28   are using three categories of unlawful tactics to suppress competition from Teva.

                                                       -2-                      Case No. 5:24-cv-03567-NW
                                                                   JOINT CASE MANAGEMENT STATEMENT
        Case 5:24-cv-03567-NW           Document 89          Filed 03/17/25    Page 3 of 13



 1          The first category is exclusive dealing. Corcept and Optime have a highly unusual, long term,
 2   exclusive-dealing agreement that requires Optime to distribute Korlym, and expressly forbids Optime
 3   from distributing any rival products, including Teva’s generic. This agreement has had a near-total
 4   foreclosure effect in the downstream market for Korlym, meaning it has prevented Teva from reaching
 5   Korlym patients. The agreement is not easily terminable or incentive-based. It checks every box that
 6   signals a Sherman Act violation. The agreement’s anticompetitive effects are confirmed by Teva’s
 7   inability to reach consumers despite vigorous efforts to do so through alternative distribution channels.
 8          The second category relates to Corcept’s abuse of the patent system to delay Teva’s receipt of
 9   FDA approval and launch. Corcept’s motion to dismiss does not dispute that it deliberately listed two
10   patents in the FDA’s Orange Book that it knew were not eligible to be listed there. That misconduct
11   unlawfully delayed Teva’s FDA approval by 30 months. Corcept also sued Teva for infringing a total
12   of nine patents, but those lawsuits were shams. In fact, Corcept voluntarily dismissed as to seven
13   patents and lost resoundingly on the remaining two. These lawsuits were objectively baseless, but
14   Corcept brought them anyway to delay Teva’s FDA approval and launch.
15          The third category relates to Corcept’s payment of bribes and kickbacks to prescribers to
16   induce them to prescribe brand Korlym over Teva’s generic. Corcept is currently being investigated
17   by the U.S. Attorney’s Office for the District of New Jersey for making improper payments to
18   prescribers. Independent journalists have written exposés about Corcept’s improper payments to
19   prescribers, and several years’ worth of public payment and prescription data show that Corcept has
20   made many payments to prescribers that are vastly higher than the norm, and that are suspiciously
21   timed to coincide with when prescribers began writing large volumes of Korlym prescriptions.
22          B.      Defendants’ Position
23          Corcept is a small, innovative pharmaceutical company committed to pioneering novel
24   treatments for serious disorders and providing patients and physicians with the support they need.
25   Corcept has so far brought one product to market: Korlym. Optime is a small specialty pharmacy that
26   distributes Corcept’s Korlym.      Teva’s case is not motivated by any legitimate gripe against
27   Defendants. Instead, Teva—a generic manufacturer whose portfolio of more than 500 generic drugs
28   is made possible by innovators like Corcept—seeks to piggy-back off the years of research,

                                                       -3-                      Case No. 5:24-cv-03567-NW
                                                                   JOINT CASE MANAGEMENT STATEMENT
        Case 5:24-cv-03567-NW           Document 89          Filed 03/17/25    Page 4 of 13



 1   development, and hard work its much smaller competitor Corcept engaged in that led to Korlym.
 2   While Teva seeks to blame Defendants for its drug’s poor performance and points to supposed
 3   conditions in other markets, Teva’s generic is unsuccessful in this one due to its own unwillingness to
 4   actually compete, such as on price (Teva’s generic is a 13% discount from Corcept’s branded Korlym)
 5   or on quality (Teva offers little to no support to patients relating to its generic). Teva’s claims lack
 6   merit and should be dismissed.
 7          Teva claims that its “exclusive dealing” theory—based on a contract between Corcept and
 8   Optime—is the “focus” of its case. Oct. 31, 2024 Hrg. Tr. at 4. Teva asserts that aside from Optime—
 9   one small specialty pharmacy based in Earth City, Missouri—there are “no viable, practical, or feasible
10   alternative distribution channels” and such alternatives only “might be theoretically available.” Dkt.
11   39 ¶ 157; Dkt. 65 at 9. But Teva has admitted in discovery that it is actively distributing its generic
12   mifepristone through at least ten different channels (including CVS, Walgreens, AmerisourceBergen,
13   Cardinal Health, and others), Teva has access to others such as Walmart, Costco, Sam’s Club, Publix,
14   and in some cases it was Teva that decided not to move forward with the alternative channels. So,
15   while Teva complains it cannot distribute through one pharmacy (Optime), Teva concedes it uses and
16   has access to many others, dooming its exclusive dealing claim. Dkt. 55 at 17–20; Dkt. 68 at 2–5.
17          The other “categories” of Teva’s claims similarly falter. Teva’s claims based on Corcept’s
18   listing of two patents in the FDA’s “Orange Book” in 2015 and 2017 fail because they are time-barred,
19   and, in any case, did not plausibly cause Teva antitrust injury. Dkt. 55 at 7–9; Dkt. 68 at 6–10.
20   Notably, the FTC is investigating Teva—not Corcept—for improper, anticompetitive Orange Book
21   listings. Teva’s “sham” patent litigation claims fail because they too are time-barred, Teva fails to
22   overcome Noerr-Pennington immunity, and Corcept’s patent lawsuits did not cause Teva any antitrust
23   injury. Dkt. 55 at 9–15; Dkt. 68 at 10–14. Teva’s “bribery” claims fail because the public data Teva
24   itself relies on confirms the payments are for lawful speaker and similar fees, Teva does nothing to
25   distinguish Corcept’s payments from the ones that Teva itself makes and defends as lawful (and which
26   are far higher in number and amount than Corcept’s), Teva relies on only innuendo that does not make
27   its allegations plausible (Teva relies on a government subpoena Corcept received years ago that has
28   resulted in zero findings of wrongdoing, as well as a single web article—not multiple “exposés” from

                                                       -4-                      Case No. 5:24-cv-03567-NW
                                                                   JOINT CASE MANAGEMENT STATEMENT
          Case 5:24-cv-03567-NW         Document 89         Filed 03/17/25    Page 5 of 13



 1   “journalists”—which itself indicates Corcept’s payments are proper), and Teva fails to allege any
 2   plausible harm to competition from the alleged payments. Dkt. 55 at 20–25; Dkt. 68 at 14–16. It was
 3   Teva—not Corcept—that recently paid a $450 million fine related to “kickback” payments.
 4   3.     LEGAL ISSUES
 5          Teva asserts seven causes of action: (1) monopolization under 15 U.S.C. § 2; (2) attempted
 6   monopolization under 15 U.S.C. § 2; (3) exclusive dealing under 15 U.S.C. § 1; (4) violation of
 7   California’s Bus. & Prof. Code § 17200; (5) violation of California’s Bus. & Prof. Code § 16600; (6)
 8   violation of various state antitrust and consumer protection laws; and (7) unjust enrichment. The case
 9   is at the pleading stage. Teva filed its operative first amended complaint on September 13, 2024 (ECF
10   No. 39). Defendants on October 14, 2024 filed their joint motion to dismiss with prejudice (ECF No.
11   55). Defendants seek a hearing on their motion, which has been pending for several months and may
12   eliminate or narrow this case. The parties may identify other legal disputes should the case progress.
13   4.     MOTIONS
14          On October 14, 2024, Defendants filed a motion to dismiss the first amended complaint, which
15   is fully briefed: ECF Nos. 55 (motion), 65 (opposition), 68 (reply). Following reassignment to this
16   Court, the parties requested that the Court hear the motion without re-briefing on April 30, 2025. Each
17   side may file summary judgment, Daubert, in limine, and other motions should this case proceed.
18   5.     AMENDMENT OF PLEADINGS
19          Judge Freeman previously held that Teva could seek leave to amend its complaint until January
20   3, 2025. ECF No. 63. Teva did not file any motion for leave to amend by that deadline.
21   6.     EVIDENCE PRESERVATION
22          The parties have conferred about evidence preservation, informed one another that they have
23   appropriate litigation holds in place, and reviewed the Northern District’s ESI Guidelines.
24   7.     DISCLOSURES
25          In accordance with Federal Rule of Civil Procedure 26, the Parties exchanged Initial
26   Disclosures on October 24, 2024. On February 13, 2025, Teva supplemented its Initial Disclosures.
27   8.     DISCOVERY
28          A.      Discovery to Date

                                                      -5-                      Case No. 5:24-cv-03567-NW
                                                                  JOINT CASE MANAGEMENT STATEMENT
        Case 5:24-cv-03567-NW           Document 89         Filed 03/17/25    Page 6 of 13



 1                  1.     Teva’s Position
 2          Teva served requests for production (“RFP”) on Corcept and Optime on October 8, 2024, and
 3   interrogatories on October 10, 2024. Judge Freeman denied Defendants’ motion to stay discovery
 4   (ECF No. 69), but Defendants have consistently sought to delay Teva’s discovery efforts by engaging
 5   in obstructionist practices, such as refusing to answer discovery correspondence from Teva for months
 6   under the guise of negotiating fairly standard protective order and ESI protocol. Defendants’ efforts
 7   have prevented Teva from obtaining meaningful discovery since the last Case Management
 8   Conference. Until today, Corcept had only produced nine documents, consisting of organization
 9   charts from 2016 to 2024, despite Teva’s offer to treat any documents produced prior to the entry of a
10   protective order as “Outside Counsel’s Eyes Only.” Today, more than five months after Teva served
11   its RFPs, Corcept has finally produced unquestionably relevant documents, such as its exclusive
12   dealing agreement with Optime. Optime has not produced any documents to date.
13          On January 20, 2025, Teva provided Defendants with notice of 33 subpoenas it had served or
14   was attempting to serve on healthcare providers concerning its bribery and kickback allegations. Teva
15   has since served 21 of the 33 subpoenas. On February 25, Teva gave Defendants notice of a subpoena
16   to Eversana (f/k/a Dohmen Life Sciences) concerning Corcept’s relationship with Dohmen prior to its
17   exclusive dealing arrangement with Optime. Teva has yet to receive any documents in response to
18   these subpoenas.
19          Teva made its first production in response to Corcept’s first set of RFPs on February 6, 2025,
20   even though Corcept had not addressed any of Teva’s responses and objections to Corcept’s RFPs.
21   Teva is currently negotiating the scope of additional productions in response to Corcept’s RFPs.
22   Similarly, Teva served its first supplemental responses to Corcept’s interrogatories on February 13,
23   2025, and is likewise negotiating the scope of its interrogatory responses with Corcept.
24                  2.     Defendants’ Position
25          Rather than serve focused discovery, Teva served 231 document requests and 31
26   interrogatories, seeking information across every aspect of Defendants’ businesses and going back 13
27   years. Contrary to Teva’s claim that Defendants have “sought to delay” discovery, Defendants have
28   sought to proceed sensibly. Defendants first focused the parties’ efforts on resolving foundational

                                                      -6-                      Case No. 5:24-cv-03567-NW
                                                                  JOINT CASE MANAGEMENT STATEMENT
          Case 5:24-cv-03567-NW         Document 89         Filed 03/17/25    Page 7 of 13



 1   documents like ESI and Protective Orders. Driven largely by Defendants’ revisions, the parties
 2   reached agreement on the former, and a near-agreement on the latter (with the parties’ one dispute
 3   now resolved by Judge DeMarchi). Defendants have also made progress on Teva’s voluminous RFPs
 4   and ROGs, meeting-and-conferring and exchanging substantive proposals on them; Defendants have
 5   also answered certain of Teva’s ROGs and agreed to provide supplemental responses to others.
 6          Discovery in this case—which involves claims between direct competitors Teva and Corcept—
 7   will primarily involve confidential and competitively-sensitive materials. Defendants were not able
 8   to produce such materials until the Protective Order was resolved. Teva complains that Corcept in the
 9   meantime produced organizational charts, but Teva has not even done that. The one production Teva
10   has made is fewer pages than Corcept’s initial production and came only after Corcept pointed out
11   Teva had produced nothing so far. Judge DeMarchi on Friday adopted without prejudice Defendants’
12   proposed Protective Order; today, Defendants submitted their proposed Protective Order for entry,
13   and Corcept accordingly produced thousands of documents, including Corcept-Optime agreements.
14          Corcept has propounded RFPs and ROGs to Teva. The parties are conferring over Teva’s
15   responses. Optime has not yet served discovery on Teva but anticipates doing so. As they have done
16   to date, Defendants will meet-and-confer on discovery and seek agreement with Teva where possible;
17   should agreement not be possible, Defendants will raise disputes before Judge DeMarchi as necessary.
18          B.      Stipulated Protective and ESI Orders and Identified Discovery Disputes
19          The parties agreed on an ESI Order, which Judge DeMarchi largely entered on February 19,
20   2025. ECF Nos. 79, 80. The parties on February 28, 2025 submitted a discovery dispute to Judge
21   DeMarchi, concerning whether under the parties’ Protective Order in-house litigation counsel (rather
22   than just outside counsel) should have access to “Highly Confidential” discovery materials. Judge
23   DeMarchi on Friday resolved that dispute, adopting Defendants’ proposal without prejudice;
24   Defendants today submitted for entry their proposed Protective Order. ECF Nos. 87, 88.
25   9.     RELATED CASES
26          A group of health insurers, including Aetna, Humana, and Molina Healthcare, recently filed a
27   lawsuit against Corcept in California state court, alleging that Corcept blocked Teva’s generic version
28   of Korlym. See Aetna, Inc., et al. v. Corcept Therapeutics, Inc., Case No. 25-cv-110493 (Cal. Alameda

                                                      -7-                      Case No. 5:24-cv-03567-NW
                                                                  JOINT CASE MANAGEMENT STATEMENT
           Case 5:24-cv-03567-NW        Document 89          Filed 03/17/25    Page 8 of 13



 1   Super. Ct.). Additionally, certain claims and issues from the parties’ underlying patent litigation are
 2   presently pending before the United States Court of Appeals for the Federal Circuit in Corcept
 3   Therapeutics, Inc. v. Teva Pharmaceuticals USA, Inc., Case No. 24-1346 (Fed. Cir.).
 4   10.     RELIEF
 5           Teva seeks damages, including actual, consequential, compensatory, treble, punitive, and/or
 6   other damages, including pre- and post-judgment interest at the statutory rates; equitable relief in the
 7   nature of disgorgement, restitution, and the creation of a constructive trust to remedy Defendants’
 8   unjust enrichment; an injunction invalidating the exclusive dealing arrangement between Corcept and
 9   Optime, and any other anticompetitive practices by Defendants; and any further legal and equitable
10   relief that the Court may deem just and proper. ECF No. 39. Defendants dispute that Teva is entitled
11   to any relief whatsoever and reserve their rights to seek relief and assert counterclaims against Teva.
12   11.     SETTLEMENT AND ADR
13           Judge Freeman previously referred this case to private mediation and ordered mediation to
14   occur by November 14, 2025. ECF Nos. 63, 75. There have been no formal mediation efforts to date.
15   12.     OTHER REFERENCES
16           The case has already been assigned to Magistrate Judge DeMarchi for discovery. ECF No. 72.
17   13.     CASE SCHEDULE
18           Judge Freeman previously set certain deadlines and directed the parties to confer regarding
19   others. ECF No. 63. The parties then did so and filed their further proposal. ECF No. 67. Following
20   reassignment to this Court, on February 24, 2025, all future hearing dates were vacated. ECF No. 81.
21   The parties’ proposed schedule is included below, along with their respective positions:
                         Deadline                       Teva’s Proposal         Defendants’ Proposal
22
      Substantial Completion of Document              July 11, 2025          N/A [Defendants oppose
23    Productions and Final Privilege Logs                                   the setting of this deadline]
      Close of Fact Discovery                         November 21, 2025 November 21, 2025
24
      Opening Expert Reports                          January 9, 2026        January 9, 2026
25    Rebuttal Expert Reports                         February 20, 2026      February 20, 2026
26    Completion of Expert Depositions                March 27, 2026         March 27, 2026
      Final Date to File Dispositive Motions          May 15, 2026           May 15, 2026
27    Oppositions to Dispositive Motions              June 19, 2026          June 19, 2026
28    Replies on Dispositive Motions                  July 17, 2026          July 17, 2026

                                                       -8-                      Case No. 5:24-cv-03567-NW
                                                                   JOINT CASE MANAGEMENT STATEMENT
           Case 5:24-cv-03567-NW        Document 89          Filed 03/17/25   Page 9 of 13



 1                        Deadline                       Teva’s Proposal        Defendants’ Proposal
 2    Hearing Date for Dispositive Motions              August 13, 2026       August 13, 2026
      Lead Counsel Meet-and-Confer Before Trial         October 29, 2026      October 29, 2026
 3    Motions in Limine (Max. 5/Side) Due               November 9, 2026      November 9, 2026
 4    Hearing Date for Non-in Limine Daubert            November 12, 2026     November 12, 2026
      Motions
 5    Joint Pretrial Statement and Order                November 25, 2026     November 25, 2026
 6    Jury Materials (Preliminary Statement of          November 25, 2026     November 25, 2026
      Case; Voir Dire; Jury Instructions; Verdict
 7    Form)
      Oppositions to Motions in Limine                  December 3, 2026      December 3, 2026
 8
      Pretrial Conference                               December 10, 2026     December 10, 2026
 9    Trial Briefs                                      January 4, 2027       January 4, 2027
10    Trial                                             January 11, 2027      January 11, 2027

11                  1.      Teva’s Position

12           The only issue of disagreement between the Parties is whether there should be a deadline for

13   the substantial completion of document productions and final privilege logs. Since the Parties agree

14   to a fact discovery cut-off, a substantial completion deadline will ensure that the Parties have an

15   adequate opportunity to review and follow up on produced documents before conducting depositions,

16   without having to seek an extension of the fact discovery deadline.

17                  2.      Defendants’ Position

18           The parties agree on a fact discovery cut-off of November 21, 2025, which necessarily means

19   document productions, privilege logs, and lay depositions must generally be completed by then.

20   Further setting a July 11, 2025 substantial completion and privilege log deadline—which would

21   practically advance by four months the deadline for document production—is unnecessary. That is

22   all the more true since the universe of documents to be produced, much less reviewed, is unknown

23   given the parties’ ongoing discussions as to document requests, custodians, and search terms.

24   14.     TRIAL

25           Teva has requested a jury trial. Teva estimates that the trial will last approximately 14 trial

26   days after a jury is empaneled. Defendants submit that it is premature to estimate trial length, given

27   the scope and extent to which Teva’s claims may proceed is currently unclear. The parties will confer

28   as to a reasonable trial estimate and plan, should this case proceed.

                                                       -9-                      Case No. 5:24-cv-03567-NW
                                                                   JOINT CASE MANAGEMENT STATEMENT
       Case 5:24-cv-03567-NW          Document 89        Filed 03/17/25     Page 10 of 13



 1   15.    DISCLOSURE OF NON-PARTY INTERESTED ENTITIES OR PERSONS
 2          Teva filed its Certification of Conflicts and Interested Entities or Persons Pursuant to Civil
 3   Local Rule 3-15 on June 13, 2024. ECF No. 5. Defendants filed their respective Corporate Disclosure
 4   Statements and Certification of Interested Entities in July 2024. ECF Nos. 25, 31.
 5   16.    PROFESSIONAL CONDUCT
 6          Counsel of record have reviewed the Northern District’s Guidelines for Professional Conduct.
 7   17.    OTHER
 8                 1.      List of Parties
 9          Plaintiff is Teva Pharmaceuticals USA, Inc., and Defendants are Corcept Therapeutics,
10   Incorporated and Optime Care Inc.
11                 2.      Summary of Claims
12          Teva filed its Complaint on June 13, 2024, and amended it on September 13, 2024. ECF Nos.
13   1, 39. Teva claims that Corcept delayed the entry of its generic Korlym drug due to its fraudulent
14   Orange Book listings and sham patent litigations, and is now preventing Teva’s generic from
15   meaningfully accessing the distribution channel for Korlym through its exclusive-dealing arrangement
16   with Optime and through bribes and kickbacks paid to physician and non-physician practitioners to
17   prescribe brand Korlym over Teva’s generic. Defendants dispute Teva’s claims, as stated above.
18                 3.      Procedural History
19           Date           ECF No.                               Description
      June 13, 2024         1            Teva filed its Complaint.
20
      September 13, 2024    39           Teva filed its Amended Complaint.
21    October 14, 2024      55           Defendants’ joint motion to dismiss Teva’s amended complaint.
22    November 4, 2024      63           Case Management Order.
      November 13, 2024     65           Teva’s opposition to Defendants’ joint motion to dismiss.
23    November 15, 2024     67           Parties’ joint notice regarding case schedule.
24    November 25, 2024     68           Defendants’ reply in support of joint motion to dismiss.
      December 4, 2024      69           Order denying Defendants’ motion to stay discovery.
25
      February 3, 2025      72           Case assigned to Magistrate Judge Virginia K. DeMarchi.
26    February 10, 2025     75           Order directing Parties to hold a private ADR session on or
                                         before November 14, 2025.
27
      February 24, 2025     81           Order re-assigning case to Judge Noël Wise.
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                                                     -10-                     Case No. 5:24-cv-03567-NW
                                                                 JOINT CASE MANAGEMENT STATEMENT
     Case 5:24-cv-03567-NW      Document 89     Filed 03/17/25     Page 11 of 13



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                                            -11-                     Case No. 5:24-cv-03567-NW
                                                        JOINT CASE MANAGEMENT STATEMENT
     Case 5:24-cv-03567-NW   Document 89      Filed 03/17/25     Page 12 of 13



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                                          -12-                     Case No. 5:24-cv-03567-NW
                                                      JOINT CASE MANAGEMENT STATEMENT
       Case 5:24-cv-03567-NW          Document 89       Filed 03/17/25      Page 13 of 13



 1                           [PROPOSED] CASE MANAGEMENT ORDER
 2
            The above Joint Case Management Statement and [Proposed] Order is approved as the Case
 3
     Management Order for this case and all parties shall comply with its provisions. [In addition, the
 4
     Court makes the further orders stated below:]
 5

 6
            IT IS SO ORDERED.
 7

 8
            Dated: _____________,
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                                                            __________________________
10                                                          The Hon. Noël Wise
                                                            United States District Judge
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                                                     -13-                      Case No. 5:24-cv-03567-NW
                                                                  JOINT CASE MANAGEMENT STATEMENT
